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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

 

JACKSONVILLE DIVISION
KATRINA BROWN,
Plaintiff, Case No.: 3: 16-cv-01460-TJC-MCR
v.
DIGITAL RISK, LLC and
DIGITAL RISK MORTGAGE
SERVICES, LLC.
Defendants.
/
NOTICE OF SETTLEMENT

 

Pursuant to Local Rule 3.08, Plaintiff, by her undersigned counsel, notifies the Court that
this case has been settled and that Plaintiff requests an order dismissing the case Without
prejudice subject to the right of any party to move the Court Within sixty (60) days for the
purpose of entering a stipulated form or final order of judgment or, on good cause shoWn, to
reopen the case for further proceedings

Respectfully submitted,

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CERTIFICATE OF SERVICE
I HEREBY CERTIFY that on the /:!:S: day of January, 2018, l electronically filed the

foregoing With the Clerk of Court by using the CM/ECF system, Which Will send a Notice of

Electronic Filing to all counsel of record herein.

/s/ Leonard S. Magid
Attorney

